Case 2:18-cv-11273-MCA-LDW Document 2201 Filed 10/20/22 Page 1 of 1 PagelD: 64009

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

NEWARK VICINAGE
OCCIDENTAL CHEMICAL )
CORPORATION, )
)
Plaintiff, ) Hon. Leda Dunn Wettre
)
V. ) Case No: 2:18-cv-11273-MCA-LDW
)
21ST CENTURY FOX AMERICA, )
INC., et al., )
)
Defendants and Third- Party )
Plaintiffs, )
v. )
)
PASSAIC VALLEY SEWERAGE )
COMMISSIONERS, et al., )
)
Defendants and Third-Party )
Defendants. )

SUBSTITUTION OF ATTORNEY

PLEASE TAKE NOTICE, that the undersigned hereby consent to the substitution of

SCHENCK, PRICE, SMITH & KING, LLP with an office at 220 Park Avenue, Florham

Park, New Jersey 07932, being substituted as attorneys of record for the Defendant, Third Party

Defendant, Cross Defendant, Counter Defendant, Third Party Plaintiff, Counter Claimant NEU

Holdings U.S. Corporation in the above-captioned matter in place and instead of LASSER

HOCHMAN, LLC as of the date hereof.

SCHENCK, PRICE, SMITH & KING, LLP
220 Park Avenue

P.O. Box 991

Florham Park, NJ 07932

By:___/s/ Ryder T. Ulon
Ryder T. Ulon, Esq.
For the Superseding Attorneys

Dated: _ Oct. 20, 2022

{02910230.DOCX;1 }

LASSER HOCHMAN, LLC
75 Eisenhower Parkway

Suite 120 /
Roseland, NJ/{

\ Richard L. Zucker, Esq.
For the Cae mmeys

Dated: Ocrber 20, 2°R2

  
  
 
 

By:

 
